8:07-cr-00071-LSC-SMB       Doc # 274     Filed: 11/22/10     Page 1 of 1 - Page ID # 969




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:07CR71
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
MARTIN CAMPOS-CALDERON,                      )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s motion for appointment of

counsel (Filing No. 273).

      The Defendant requests new counsel to appeal from his sentence. His Judgment

was filed on February 6, 2008. The appeal deadline at that time was 10 business days

after the filing of the Judgment. The Judgment is final.

      IT IS ORDERED:

      1.     The Defendant’s motion for appointment of counsel (Filing No. 273) is

             denied; and

      2.     The Clerk is directed to mail a copy of this order to the Defendant at his last

             known address.

      DATED this 22nd day of November, 2010.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
